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HHHJBy__

IN THE uNITED sTATEs DISTRICT corm'r ` °'c-
FoR THE wEsTERN DISTRICT oF TEmssEbszUN 30 2
wEsTERN DIvIsIoN ' "

 

 

HOME DESIGN SERV'ICES,
Plaintiff,
Civ. No. 03-2709-D[P

vB.

SPARKMAN HOME BUILDERS,
et al.,

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Defendants.

 

OR.DER DEN'YING AS MOOT DEFENDANTS’ MOTION TO COMPEL

 

Before the court is defendants' motion to compel, filed May
26, 2005. (dkt #55). The court set the matter for a hearing for
June 30, 2005. By letter dated June 29, 2005, counsel for the
defendant informed the court that the parties have resolved the
discovery disputes at issue in the motion to compel, and that the
hearing Would be unnecessary at this time. For these reasons, the

motion is DENIED as moot.

IT IS SO ORDERED. %

 

 

'I`U M. PHAM
United States Magistrate Judge
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ou 30. u<>>
Date l

Ti.is document entered on the docket sheet in compliance
with Ru!e 58 and/or 79{3) FRCP on ’ "

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Honorable Bernice Donald
US DISTRICT COURT

